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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

In re: SKAPARS, YVONNE V.                                              Chapter 13
       SSN: xxx-xx-5580                                                Case No. 15-11221-JNF

                                 Debtor(s)



         Now comes Car

for reasons says as follows:

1.       On March 31, 2015, the above-captioned Debtor (the "Debtor") filed a petition for relief
         under Chapter 13 of the United States Bankruptcy Code.
2.       On April 28, 2015, the Trustee convened and presided at a meeting of creditors as
         required by 11 U.S.C. §341 wherein the Debtor appeared with Counsel was sworn and
         examined.
3.                                                                                    he Debtor filed
         the Amended                       with an                 for the Plan to begin of May 01,
         2016 on April 26, 2016. The Plan proposes an increased payment of $628.00 per month
         to the Trustee for a term of 60 months with an increased dividend to unsecured creditors
         of 40.9704% paying the amount of $20,865.47 through the plan. The Trustee cannot
         recommend the Plan for confirmation at this time.
4.       According to the Liquidation Analysis, there is $21,767.68 available for creditors in a
         Chapter 7. The Trustee asserts that there does not appear to be any priority or
         administrative claims being treated through the Plan. Therefore, the Trustee avers that
         there are additional $902.21 that could be devoted to paying unsecured creditors.
         Therefore, t
         best interest test set forth under 11 U.S.C. §1325(a)(4). The Trustee avers that creditors
         would receive a greater dividend in a liquidation under Chapter 7 of the Bankruptcy
         Code. Based on the aforementioned, the Trustee is unable to recommend the plan for
         confirmation at this time.
